         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 1 of 28




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                        Grand Jury N-23-1

UNITED STATES OF AMERICA                            Criminal No. 3 :23CR26 (KAD)

               V.                                   VIOLATIONS:

GLENN OZTEMEL,                                      18 U.S.C. § 371
GARY OZTEMEL, and                                   (Conspiracy to Violate the Foreign Con-upt
EDUARDO INNECCO                                     Practices Act)
                                                    15 U.S.C. § 78dd-2(a)
                                                    (Foreign Corrupt Practices Act)
                                                    18 U.S.C. § 1956(h)
                                                    (Conspiracy to Commit Money Laundering)
                                                    18 U.S.C. § 1956(a)(2)(A)
                                                    (Money Laundering - Promotion)
                                                    18 U.S.C. § 1956(a)(2)(B)(i)
                                                    (Money Laundering - Concealment)
                                                    18 U.S.C. § 1957
                                                    (Monetary Transactions Involving Criminally
                                                    Derived Property)
                                                    18 U.S.C. § 2
                                                    (Aiding and Abetting)


                                 SUPERSEDING INDICTMENT

       The Grand Jury charges:

                                         COUNT ONE
                    (Conspiracy to Violate the Foreign Corrupt Practices Act)
                                        (All Defendants)

       At all times relevant, unless otherwise specified:

        1.     The Foreign Corrupt Practices Act of 1977, as amended, Title 15, United States

Code, Sections 78dd-l, et seq. (the "FCPA"), was enacted by Congress for the purpose of, among

other things, making it unlawful to act corruptly in frniherance of an offer, promise, authorization

or payment of money or anything of value, directly or indirectly, to a foreign official for the

purpose of obtaining or retaining business for, or directing business to, any person.
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 2 of 28




                                     Overview of the Scheme

       2.      Between in or about 2010 and continuing until in or about 2018, defendants

GLENN OZTEMEL, GARY OZTEMEL, and EDUARDO INNECCO, together and with others,

agreed to pay, and did pay, bribes to foreign officials at Brazil's state-owned and state-controlled

oil and gas company, Petr6leo Brasileiro S.A. - Petrobras ("Petrobras"), on behalf of Trading

Company #1, Trading Company #2, and Oil Trade & Transport S.A. ("OTT"), a company owned

and controlled by GARY OZTEMEL. In exchange for the bribes, foreign officials at Petrobras,

including Rodrigo Berkowitz ("Berkowitz"), who has been charged separately, provided GLENN

OZTEMEL, GARY OZTEMEL, INNECCO and others with confidential information related to

Petrobras's business. The inside information and other improper assistance Berkowitz provided

to GLENN OZTEMEL, GARY OZTEMEL, INNECCO and others gave Trading Company #1,

Trading Company #2, and OTT improper business advantages in trades with Petrobras.

       3.      To conceal the scheme, INNECCO used coded language in his communications

with GLENN OZTEMEL and GARY OZTEMEL to refer to bribes and bribe amounts. In addition,

GLENN OZTEMEL, GARY OZTEMEL, INNECCO and their co-conspirators used personal

email accounts, fictitious names, and encrypted messaging applications to communicate in

furtherance of the scheme, particularly regarding the confidential Petrobras information they

received from Berkowitz.

       4.      In furtherance of and to promote the corrupt bribery scheme, GLENN OZTEMEL

and INNECCO, together and with others, agreed to and did cause employees of Trading Company

#1 and Trading Company #2, located in the District of Connecticut, to transmit the corrupt

payments from bank accounts in the United States to and through bank accounts in Switzerland




                                                 2
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 3 of 28




and Uruguay. The payments were made pursuant to invoices sent from INNECCO to GLENN

OZTEMEL and others, which sought payment for purpmied consulting fees and commissions.

       5.         In addition, and in fmiherance of and to promote the conupt bribery scheme,

GLENN OZTEMEL, GARY OZTEMEL, and INNECCO agreed to and did cause OTT to facilitate

multiple "back-to-back" trades between OTT and Petro bras on the one hand, and OTT and Trading

Company #1 or Trading Company #2 on the other. In those back-to-back trades, OTT purchased

fuel oil from Petrobras and immediately sold the fuel oil to Trading Company #1 or Trading

Company #2 at a higher price. GARY OZTEMEL thereafter caused OTT to transmit c01Tupt

payments, funded at least in part from OTT's profits on the "back-to-back" trades between OTT

and Petro bras, from bank accounts in the United States to INNECCO to and through bank accounts

in Switzerland.

       6.     INNECCO paid a portion of the money he received from Trading Company #1,

Trading Company #2, and OTT to Berkowitz and others as bribes. The bribes were paid into a

bank account in Uruguay and in cash.

                                         The Defendants

       7.     Defendant GLENN OZTEMEL was a United States citizen and resided in

Westport, Connecticut. GLENN OZTEMEL was a senior oil and gas trader at Trading Company

#1 and later at Trading Company #2. GLENN OZTEMEL was a "domestic concern" and an

"employee" and "agent" of a "domestic concern," as those terms are used in the FCPA, Title 15,

United States Code, Sections 78dd-2(a), 78dd-2(h)(l ).

       8.     Defendant GARY OZTEMEL was a United States citizen and resided in Riverside,

Connecticut. GARY OZTEMEL was the owner and president ofOTT. GARY OZTEMEL was




                                                3
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 4 of 28




a "domestic conce1n" and an "agent" and "officer" of a "domestic concern," as those terms are

used in the FCPA, Title 15, United States Code, Sections 78dd-2(a), 78dd-2(h)(l).

       9.      Defendant EDUARDO INNECCO was a citizen of Brazil and Italy and resided in

Brazil. INNECCO was an oil and gas broker and worked as an agent for various energy trading

companies in Brazil, including Trading Company # 1, Trading Company #2, and OTT. INNECCO

owned and controlled several companies including Albatross Shipping Consultants Ltd.

("Albatross"), Brazilian Chemicals & Petroleum LTDA ("Brazilian Chemicals"), Morgenstern

Energy Trading Ltd ("Morgenstern") and Wertech S.A. ("Wertech") (collectively, the "Innecco

Companies"). INNECCO also served as a Vice President of OTT. INNECCO was an "agent" and

"officer" of a "domestic concern," as those terms are used in the FCPA, Title 15, United States

Code, Sections 78dd-2(a), 78dd-2(h)(l), and a "person" as that term is used in the FCPA, Title 15,

United States Code, Sections 78dd-3(a), 78dd-3(f)(l).

                                     The Trading Companies

        10.    Trading Company #1, an entity, the identity of which is known to the Grand Jury,

was a commodities trading company with its principal place of business in the District of

Connecticut. Trading Company # 1 was a "domestic concern," as that term is used in the FCP A,

Title 15, United States Code, Section 78dd-2(h)(l)(B).

       11.     Trading Company #2, an entity, the identity of which is known to the Grand Jury,

was a commodities trading company with its principal place of business in the District of

Connecticut. Trading Company #2 was a "domestic concern," as that term is used in the FCP A,

Title 15, United States Code, Section 78dd-2(h)(l )(B).




                                                4
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 5 of 28




       12.     OTT was a commodities trading company registered in Panama, with its principal

place of business in the District of Connecticut. OTT was a "domestic concern," as that term is

used in the FCP A, Title 15, United States Code, Section 78dd-2(h)(l )(B).

                           State-Owned Entities and Foreign Officials

       13.     Petrobras was the Brazilian state-owned and state-controlled oil company of Brazil.

Petrobras was wholly owned and controlled by the government of Brazil and performed a function

that Brazil treated as its own. Petrobras was an "instrumentality" of a foreign government, and

Petrobras's officers and employees were "foreign officials," as those terms are used in the FCPA,

Title 15, United States Code, Section 78dd-2(h)(2)(A).

       14.     Petro bras America Inc. ("PAI") was a wholly owned subsidiary of Petro bras with

its principal place of business in Houston, Texas. PAI was controlled by the government of Brazil

and performed a function that Brazil treated as its own. PAI was an "instrumentality" of a foreign

government and PAI's officers and employees were "foreign officials," as those terms are used in

the FCPA, Title 15, United States Code, Section 78dd-2(h)(2)(A).

       15.     Rodrigo Berkowitz was a citizen of Brazil and resided in Rio de Janeiro, Brazil and

Houston, Texas. Berkowitz worked as a trader at PAI from in or about February 2010 through in

or about January 2014, and from in or about July 2017 through in or about November 2018.

Berkowitz worked as a trader at Petrobras in Rio de Janeiro from in or about January 2014 through

in or about July 2017. Berkowitz was a "foreign official," as that te1m is used in the FCPA, Title

15, United States Code, Section 78dd-2(h)(2)(A).

       16.    Petro bras Official # 1, whose identity is known to the Grand Jury, was a citizen of

Brazil and resided in Rio de Janeiro, Brazil.       Petrobras Official #1 had responsibility for

Petrobras's fuel oil desk during the relevant period and was based in Rio de Janeiro. Petrobras



                                                5
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 6 of 28




Official #1 was a "foreign official," as that tennis used in the FCPA, Title 15, United States Code,

Section 78dd-2(h)(2)(A).

        17.    Petrobras Official #2, whose identity is known to the Grand Jury, was a citizen of

Brazil and resided in Rio de Janeiro, Brazil and Houston, Texas. Petrobras Official #2 worked as

a trader at PAI from in or about February 2014 through in or about August 2017. Petro bras Official

#2 was a "foreign official," as that term is used in the FCPA, Title 15, United States Code, Section

78dd-2(h)(2)(A).

                             Other Relevant Entities and Individuals

        18.    Co-Conspirator #1, whose identity is known to the Grand Jury, was a United States

citizen and resided in the District of Connecticut. Co-Conspirator # 1 was an oil and gas trader at

Trading Company #1 and later, at Trading Company #2.

        19.    Co-Conspirator #2, whose identity is known to the Grand Jury, was a citizen of

Brazil and resided in Rio de Janeiro, Brazil. Co-Conspirator #2 owned and operated Uruguay

Company.

       20.     Uruguay Company, the identity of which is known to the Grand Jury, was a shell

company formed in Uruguay by Co-Conspirator #2 for the benefit of Berkowitz. Berkowitz used

Uruguay Company to receive and conceal bribe payments from and on behalf of Trading Company

#1 and Trading Company #2.

       21.     Albatross Shipping Consultants LTD ("Albatross") was a company based in Liberia

that was owned and controlled by INNECCO. INNECCO used Albatross to receive, conceal, and

distribute bribe payments from and on behalf of Trading Company #2, for the benefit of Berkowitz,

Petrobras Official #1 and others.




                                                 6
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 7 of 28




        22.     Brazilian Chemicals & Petroleum L TDA ("Brazilian Chemicals") was a company

based in Brazil that was owned and controlled by INNECCO.                INNECCO used Brazilian

Chemicals to receive, conceal, and distribute bribe payments from and on behalf of Trading

Company #1, for the benefit of Berkowitz, Petro bras Official #1 and others.

        23.     Morgenstern Energy Trading Ltd ("Morgenstern") was a company based in the

British Virgin Islands that was owned and controlled by INNECCO. INNECCO used Morgenstern

to receive, conceal, and distribute bribe payments from and on behalf of Trading Company #2 and

OTT, for the benefit of Berkowitz, Petro bras Official #1, and others.

        24.     Wertech S.A. ("Wertech") was a company based in Uruguay that was owned and

controlled by INNECCO. INNECCO used Wertech to receive, conceal, and distribute bribe

payments from and on behalf of Trading Company #2, for the benefit of Berkowitz, Petrobras

Official # 1, and others.

        25.     Petro Trade Services, Inc. ("Petro Trade") was a company based in Connecticut

that was owned and controlled by GARY OZTEMEL. GARY OZTEMEL used Petro Trade to,

among other things, receive and conceal the nature of proceeds derived from the scheme.

                                          The Conspiracy

        26.     Beginning in or about 2010 and continuing until in or about 2018, in the District of

Connecticut and elsewhere, defendants GLENN OZTEMEL, GARY OZTEMEL, and INNECCO

did knowingly conspire, confederate and agree, together and with each other and with others

known and unknown to the Grand Jury, to commit offenses against the United States, that is:

                a.      being a domestic concern (GLENN OZTEMEL and GARY OZTEMEL),

an employee and agent of a domestic concern (GLENN OZTEMEL), and an agent and officer of

a domestic concern (GARY OZTEMEL and INNECCO), to willfully make use of the mails and



                                                 7
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 8 of 28




means and instrumentalities of interstate commerce corruptly in furtherance of an offer, payment,

promise to pay and authorization of the payment of any money, offer, gift, promise to give and

authorization of the giving of anything of value to a foreign official, to a foreign political party and

official thereof, and to a person while knowing that all and a portion of such money and thing of

value would be and had been offered, given and promised to a foreign official and to a foreign

political patiy and official thereof, for purposes of:

        (i)     influencing acts and decisions of such foreign official, foreign political patiy and

                official thereof in his, her or its official capacity;

        (ii)    inducing such foreign official, foreign political party and official thereof to do and

                omit to do acts in violation of the lawful duty of such official and party;

        (iii)   securing any improper advantage; and

        (iv)    inducing such foreign official, foreign political party and official thereof to use his,

                her or its influence with a foreign government and agencies and instrumentalities

                thereof to affect and influence acts and decisions of such government and agencies

                and instrumentalities,

m order to assist GLENN OZTEMEL, GARY OZTEMEL, Trading Company #1, Trading

Company #2, OTT, Co-Conspirator #1, and others in obtaining and retaining business for and with,

and directing business to, Trading Company #1, Trading Company #2, OTT, GLENN OZTEMEL,

GARY OZTEMEL, and others, contrary to Title 15, United States Code, Sections 78dd-2(a); and

                b.      while in the territory of the United States, to willfully make use of the mails

and means and instrumentalities of interstate commerce and to do any act corruptly in fmiherance

of an offer, payment, promise to pay and authorization of the payment of any money, offer, gift,

promise to give and authorization of the giving of anything of value to a foreign official, to a



                                                    8
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 9 of 28




foreign political party and official thereof, and to a person while knowing that all and a pmiion of

such money and thing of value would be offered, given and promised to a foreign official and to a

foreign political party and official thereof, for purposes of:

       (i)     influencing acts and decisions of such foreign official, foreign political paiiy and

               official thereof in his, her or its official capacity;

       (ii)    inducing such foreign official, foreign political party and official thereof to do and

               omit to do acts in violation of the lawful duty of such official and paiiy;

       (iii)   securing any improper advantage; and

       (iv)    inducing such foreign official, foreign political party and official thereof to use his,

               her or its influence with a foreign government and agencies and instrumentalities

               thereof to affect and influence acts and decisions of such government and agencies

               and instrumentalities,

in order to assist INNECCO and others in obtaining and retaining business for and with, and

directing business to, Trading Company #1, Trading Company #2, OTT, GLENN OZTEMEL,

GARY OZTEMEL, and others, contrary to Title 15, United States Code, Section 78dd-3(a).

                                     Purpose of the Conspiracy

       27.     The purpose of the conspiracy was for GLENN OZTEMEL, GARY OZTEMEL,

INNECCO, and their co-conspirators to offer, promise, and pay bribes to foreign officials,

including Berkowitz, in order to obtain and retain business with Petro bras, for and with, and direct

business to, Trading Company #1, Trading Company #2, and OTT.




                                                    9
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 10 of 28




                               Manner and Means of the Conspiracy

        28.    The manner and means by which GLENN OZTEMEL, GARY OZTEMEL,

INNECCO, and their co-conspirators sought to accomplish, and did accomplish, the purpose of

the conspiracy included, among other ways, the following:

               a.      It was part of the conspiracy that GLENN OZTEMEL, GARY OZTEMEL,

and INNECCO, together with others, would and did offer to pay, promise to pay, and authorize

the payment of bribes, directly and indirectly, to and for the benefit of foreign officials, including

Berkowitz, in order to obtain confidential information related to Petrobras's business from

Berkowitz and others, and to obtain other improper commercial advantages for and on behalf of

Trading Company # 1, Trading Company #2, and OTT.

               b.      It was further part of the conspiracy that GLENN OZTEMEL, GARY

OZTEMEL, and INNECCO, together with others, would and did use the confidential information

they obtained from Berkowitz and others to gain improper commercial advantages for and on

behalf of Trading Company #1, Trading Company #2, and OTT in trades with Petrobras.

               c.      It was further part of the conspiracy that GLENN OZTEMEL, GARY

OZTEMEL, and INNECCO, together with others, would and did take steps to conceal their receipt

and use of the confidential information they obtained from Berkowitz and others by, among other

ways: (i) sharing the confidential information via personal, alias email accounts and encrypted

messaging applications; (ii) using coded language to refer to other individuals involved in the

scheme and using coded language to refer to bribes and bribe amounts, including terms such as

"breakfast," "breakfast servings," and "freight deviation;" and (iii) engaging in sham negotiations

to give the appearance of legitimacy to trades between Petrobras and Trading Company #1,

between Petrobras and Trading Company #2, and between Petrobras and OTT.



                                                 10
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 11 of 28




               d.      It was further part of the conspiracy that GLENN OZTEMEL, GARY

OZTEMEL, and INNECCO, together with others, would and did cause Trading Company #1,

Trading Company #2, and OTT to make payments to the Innecco Companies for the purpose of

paying bribes to foreign officials, including Berkowitz.

               e.     It was further part of the conspiracy that GLENN OZTEMEL, GARY

OZTEMEL, and INNECCO, together with others, would and did conceal the bribe payments by,

among other ways, causing Trading Company# 1, Trading Company #2, and OTT to pay purported

commissions and purported profit sharing to INNECCO through the Innecco Companies, and by

using the Innecco Companies to pay bribes to foreign officials, including Berkowitz, in cash and

into an account held in the name of Uruguay Company.

                                            Overt Acts

       29.     In furtherance of the conspiracy and to achieve the objects thereof, at least one of

the co-conspirators committed and caused to be committed, in the District of Connecticut and

elsewhere, at least one of the following overt acts, among others:

               a.     On or about August 19, 2010, INNECCO sent an email to GARY

OZTEMEL, stating:

                      Just for the sake of good order, I would like to reconfirm to
                      you, in [writing], what I think are the basic points of our
                      recent discussions few days ago, in Connecticut, on this
                      subject, and what my final understanding is:

                       1.   Available funds, basis OTT last transfer to
                            Morgenstern, were just [about] the same value of
                            outstanding brkfst;

                      2.    Outstanding brkfst had to be settled, m order to
                            guarantee the continuity of bizz ....




                                                11
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 12 of 28




               b.         On or about September 14, 2010, INNECCO sent an email to GLENN

OZTEMEL, stating:

                          GLENN, THIS IS THE E-MAIL I WAS GOING TO SEND
                          TO GARY, WITH COPY TO YOU, JUST BEFORE YOU
                          CALLED:

                          Quote

                          Gary,

                          Met key people last evening. Glad to inform they ready to
                          start discussing future business with [Trading Company # 1]
                          through you, under conditions they already told us, 1.e.,
                          60cts/bbl [(cents/barrel)] for the whole group.

                          SUBJECT TO GLENN'S FINAL [APPROVAL], pls call
                          Rodrigo Berkowitz AFTER 3 :00 PM HOUSTON TIME
                          TODAY. Tell him you are speaking on behalf of [Trading
                          Company # 1]. By that time he will be already expecting
                          your call. ...

               c.         On or about September 14, 2010, INNECCO sent an email to GLENN

OZTEMEL, stating that, "[Trading Company #1] wud [sic] pay commission to either Morgenstern

or Albatross .... Morgenstern or Albatross would make the distribution, including to Gary."

               d.         On or about September 17, 2010, INNECCO sent an email to GLENN

OZTEMEL stating, "As mentioned, the USD 60/bbl commission would cover the whole group,

including Gary. For obvious reasons my suggestion is that this commission comes out of [Trading

Company #1] Geneva, no matter if the deal is booked by the USA company or not. That will make

things easier for you."

               e.         On or about October 6, 2011, INNECCO sent an email to GARY

OZTEMEL, copying GLENN OZTEMEL, using one of INNECCO's personal email accounts

associated with an alias, with the subject "Miami + Current situation," stating in part:




                                                  12
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 13 of 28




                      The guys you met in Rdam were recently instructed from
                      high above to book as much bizz as possible with us .... Fyg
                      Mr. X organized this scheme with the support of a very
                      influential man, the current "capo di tutti capi" [(boss of
                      bosses)] around the block.

                      There is only one little problem: in principle max [number]
                      of people Archie can invite for breakfast is 25, and that
                      [would] leave some key people (although not top people)
                      with no breakfast. If they [sic] not happy these people can
                      find many ways for not letting things happen, even
                      legitimate ways ....

               f.     In or about October 2011, GLENN OZTEMEL and INNECCO attended a

conference in Miami, Florida, which was also attended by Berkowitz and Petrobras Official #1.

At the conference, INNECCO told Berkowitz that Trading Company #1 would be willing to pay

bribes of up to 25 cents per barrel on transactions directly with Trading Company #1, and that he

could arrange for bribes of up to $1 per barrel for any transactions that used OTT to intermediate

the transaction between Petrobras and Trading Company #1.

               g.     On or about November 15, 2011, INNECCO sent an email to GLENN

OZTEMEL, with the subject line "Maintaining the goodwill," using the fictitious name "Spencer

Kazisnaf," and an associated email address. In the email, INNECCO stated, "May I remind you

of requested increase for 5 additional breakfast servings after first table set up, which already

occurred."

               h.     On or about December 31, 2011, Trading Company # 1 wired approximately

$70,012.75 from the company's bank account in the United States to a bank account in Switzerland

in the name of Brazilian Chemicals.

               1.     On or about March 26, 2012, INNECCO sent an email to GARY

OZTEMEL, stating that INNECCO'S "accumulated loss up to M Lisa cargo was $115,932.18"

and that GLENN OZTEMEL "told me he [would] rather not [receive] any more messages on


                                               13
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 14 of 28




breakfast related subjects on his private e-mail."         In the email, INNECCO also stated,

"$188,502.28 - [total] due to me (aside from breakfast)."

               J.     On or about April 16, 2012, INNECCO sent an email to GARY OZTEMEL

with the subject line "40k mt 3% S cargo on Amazon Beauty." In the email, INNECCO stated,

"As previously discussed, ifwe book this deal we [should] deduct costs (including brkfst) and split

profit 50/50 OTT/Morgenstern."

               k.     On or about April 26, 2012, INNECCO sent an email to GLENN

OZTEMEL, copying GARY OZTEMEL, with the subject line "Meeting in Miami." In the email,

INNECCO stated, "I think we [should] meet asap, to discuss things that you do not want to discuss

over the phone or by e-mail."

               1.     On or about June 20, 2012, INNECCO sent an email to GARY OZTEMEL

with the subject line "Freight Deviations." In the email, INNECCO stated:

                      AB - 323,144.00 nautical miles X 1.00 = 323, 144.00
                      AP - 179,680.31 nautical miles X 0.90 = 161,712.27
                                               484,856.27 ([total] both vsls)

                      484,856.27
                      100,000.00 -
                      100,000.00 -
                      150,000.00 -

                      134,856.27 (freight deviation due)

               m.     On or about July 1, 2012, INNECCO executed a "Service Provision

Agreement," on behalf of his company Albatross, with Trading Company #2.

               n.     On or about September 13, 2012, INNECCO, using the alias "Spencer

Kazisnaf," sent an email to GARY OZTMEL stating:

                      Attached [please] find a quite complete worksheet. It will
                      allow us, in a quick [glance], a quite thorough panorama of
                      what we've been doing so far. This good and bad. It is good


                                                14
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 15 of 28




                       because it will save a lot of time ifwe need to check this type
                       of info. It is bad because anyone who sees it will also get to
                       know what we've been doing in a quick glance. Needless to
                       say, we must keep this worksheet out of curious eyes. That
                       is why I've asked Mr. Spencer Kazinaf to send it to you ....

The email attached a spreadsheet listing details about OTT's trades with Petrobras in 2012.

                  o.   On or about November 13, 2012, INNECCO sent an email to GLENN

OZTEMEL attaching a file named "OTT 2012 deals with [Petrobras] (Frank's last update)."

                  p.   On or about November 13, 2012, GLENN OZTEMEL responded to the

email from INNECCO, referenced in paragraph 29-o, stating, "Spencer, u. R. A bad boy!"

                  q.   On or about November 21, 2012, GLENN OZTEMEL caused employees of

Trading Company #2, located in District of Connecticut, to wire approximately $98,166.13 from

the company's bank account in the United States to a bank account in Switzerland in the name of

Albatross.

                  r.   On or about November 29, 2012, INNECCO caused Albatross to wire

approximately $25,000 from the company's bank account in Switzerland to a bank account in

Uruguay in the name of Uruguay Company.

                  s.   On or about August 25, 2014, INNECCO sent an email using the alias

"Spencer Kazisnaf' to GLENN OZTEMEL's personal email address, stating, "Dear Glenn,

[Please] note from now on my substitute, Mr. Nikita Maksimov, will be sending you the cargo

reports. He signs SMaksimov. [Best Regards], Spencer Kazisnaf."

                  t.   On or about July 22, 2014, INNECCO and GARY OZTEMEL executed "an

amendment to the agreement of the 4th day of January 2008" between OTT and Morgenstern. The

agreement stated that OTT "[w]ill transfer a share of profit or loss to Morgenstern from sales to

Petrobras oil."



                                                 15
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 16 of 28




               u.     On or about July 22, 2014, INNECCO emailed GARY OZTEMEL five

invoices from Morgenstern to OTT for "profit sharing" dated January 8, 2013, February 8, 2013,

May 8, 2013, June 24, 2013, and July 17, 2013.

               v.     On or about August 19, 2015, GLENN OZTEMEL sent an email to

INNECCO stating: "Please let me know if we can conclude at between -1 and -.7 .... This is very

important to know if they will do this number ... "

               w.     On or about August 19, 2015, INNECCO responded to the email from

GLENN OZTEMEL referenced in paragraph 29-v above, stating:

                      Answer from RB [(Berkowitz)]:

                      We can work basis 0.5 or 3%, but we believe we can be more
                      competitive on 3% ....

                      Again, unfortunately our bottom line will be 3% + 4.7 ....

               x.     On or about August 25, 2015, INNECCO sent an email to GLENN

OZTEMEL'S personal email address, stating:

                      At meeting tomorrow it's very important that you [please]
                      do not show too much knowledge [about] what [Petrobras]
                      is doing. [Please] avoid mentioning things such as price
                      they sold last cargo to [a Trading Company #2 competitor].
                      That may let them wrongly think you did not obtain this
                      info from the [market]. If [Petrobras] start thinking in that
                      direction it [could] upset things in a way that, at the end of
                      the day, will not [have] a positive result.

              y.      On or about August 31, 2015, INNECCO sent GLENN OZTEMEL an

email with the subject "Forget [about] it," providing GLENN OZTEMEL with the details of three

offers that Petrobras had received from competitors of Trading Company #2.

              z.      On August 31, 2015, INNECCO sent GLENN OZTEMEL an email stating,

in part, "[please] do not show [Petro bras Official #2] that you [have] any knowledge that you



                                                16
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 17 of 28




[could] never been [sic] obtained from the [market]," and stating, "RB [(Berkowitz)] will be happy

to help us on price guidance."

               aa.     On or about August 15, 2016, INNECCO caused Morgenstern to wire

approximately $19,390.85 from the company's bank account in Switzerland to a bank account in

Uruguay in the name of Uruguay Company.

               bb.     On or about August 1, 2017, INNECCO sent GLENN OZTEMEL an email

to his personal email address with the subject, "Amazon Gladiator- 69kt 0.6%S cargo -Additional

info," stating, "Hi Glenn, It's very important to bid in all cargoes, even if at lower price which has

no chance to win."

               cc.     On or about April 22, 2018, INNECCO sent GARY OZTEMEL an email

to GARY OZTEMEL's personal email address with the subject, "Petro Trade Invoices to Wertech

- Feb 1st 2017 thru Jan 31st 201 [8]," stating, "To save you time and work I've prepared 18 Petro

Trade invoices, based on an old invoice I've received from you more than a year ago. All invoices

correspond to the transfers Wertech made to Petro Trade from Feb 1st 2017 thru Jan 31st 2018.

The only thing I ask you is to insert them [sic] invoices numbers in chronological order; stamp

them; sign them; scan them; and send them to me by e-mail, as soon as you can."

               dd.     On or about May 2, 2018, GARY OZTEMEL responded to the April 22,

2018 email referenced in paragraph 29-cc above, stating "Attached are the signed and numbered

mvo1ces. Did not see Glenn yet. We keep rescheduling."

               ee.      On or about May 9, 2018, GLENN OZTEMEL caused employees of

Trading Company #2, located in the District of Connecticut, to wire approximately $77,996.95

from the company's bank account in the United States to a bank account in Uruguay in the name

ofWertech.



                                                 17
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 18 of 28




                 ff.   On or about June 12, 2018, GLENN OZTEMEL caused employees of

Trading Company #2, located in the District of Connecticut, to wire approximately $107,541.17

from the company's bank account in the United States to a bank account in Uruguay in the name

ofWe1iech.

                 gg.   On or about July 17, 2018, INNECCO sent Berkowitz several Po1iuguese

language messages via WhatsApp. In one of those messages, as translated to English, INNECCO

told Berkowitz that he sent "5 messages to G overnight .... " INNECCO then quoted his messages

to "G," which included bids from Trading Company #2's competitors for several Petrobras cargos.

                 hh.   On or about August 10, 2018, GLENN OZTEMEL caused employees of

Trading Company #2, located in the District of Connecticut, to wire approximately $39,293.01

from the company's bank account in the United States to a bank account in Uruguay in the name

ofWertech.

                 11.   On or about September 12, 2018, INNECCO sent an email to an employee

of Trading Company #2, located in the District of Connecticut, copying GLENN OZTEMEL and

Co-Conspirator # 1, attaching two invoices seeking payment of a consultancy fee in the amount of

$8,000 and commission in the amount of $103,570.08.

                 JJ.   On or about November 13, 2018, GLENN OZTEMEL caused employees of

Trading Company #2, located in the District of Connecticut, to wire approximately $113,515.49

from the company's bank account in the United States to a bank account in Uruguay in the name

ofWertech.

                 kk.   On or about November 16, 2018, INNECCO caused We1iech to wire

$10,000 from a bank account in Uruguay to a bank account in the name of Petro Trade in the

United States.



                                              18
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 19 of 28




                11.     On or about November 17, 2018, GARY OZTEMEL responded to an email

from INNECCO on or about November 16, 2018, with the subject line "Petro Trade - Consulting

Services (parcial) [sic] USD 1OK." In the email, GARY OZTEMEL wrote, "Funds received, send

more."

                mm.     On or about November 19, 2018, INNECCO caused Wertech to wire

$7,681.40 from a bank account in Uruguay to a bank account for Petro Trade in the United States.

                nn.     On or about November 27, 2018, INNECCO caused Wertech to wire

$10,000 from a bank account in Uruguay to a bank account for Petro Trade in the United States.

         All in violation of Title 18, United States Code, Section 371.

                             COUNTS TWO, THREE, AND FOUR
                                (Foreign Corrupt Practices Act)
                         (GLENN OZTEMEL and EDUARDO INNECCO)
         30.    Paragraphs 1 through 25 and 27 through 29 are incorporated by reference.

         31.    On or about the dates set forth below, in the District of Connecticut and elsewhere,

defendants GLENN OZTEMEL and INNECCO, being a domestic concern and an employee and

agent of a domestic concern (GLENN OZTEMEL), and an agent and officer of a domestic concern

(INNECCO), together with others known and unknown to the Grand Jmy, did willfully make use

of, and aid, abet and willfully cause others to make use of, the mails and means and

instrumentalities of interstate commerce c01Tuptly in furtherance of an offer, payment, promise to

pay and authorization of the payment of any money, offer, gift, promise to give and authorization

of the giving of anything of value to a foreign official, to a foreign political party and official

thereof, and to a person while knowing that all and a portion of such money and thing of value

would be and had been offered, given and promised to a foreign official and to a foreign political

paiiy and official thereof, for purposes of: (i) influencing acts and decisions of such foreign

official, foreign political paiiy and official thereof in his, her or its official capacity; (ii) inducing

                                                   19
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 20 of 28




such foreign official, foreign political party and official thereof to do and omit to do acts in

violation of the lawful duty of such official and party; (iii) securing any improper advantage; and

(iv) inducing such foreign official, foreign political party and official thereof to use his, her or its

influence with a foreign government and agencies and instrumentalities thereof to affect and

influence acts and decisions of such government and agencies and instrumentalities, in order to

assist GLENN OZTEMEL, Trading Company #1, Trading Company #2, Co-Conspirator #1, Co-

Conspirator #2, and others in obtaining and retaining business for and with, and directing business

to, Trading Company #1, Trading Company #2, GLENN OZTEMEL, and others, as set forth

below:

 COUNT         APPROXIMATE                  MEANS AND INSTRUMENTALITIES OF
                   DATE               INTERSTATE AND INTERNATIONAL COMMERCE
   TWO           May 9, 2018         A wire transfer of approximately $77,996.95, initiated by
                                     Trading Company #2 in the District of Connecticut, from
                                     Trading Company #2's bank account in the United States to
                                     We1iech's bank account in Uruguay.
  THREE          June 12, 2018       A wire transfer of approximately $107,541.17, initiated by
                                     Trading Company #2 in the District of Connecticut, from
                                     Trading Company #2's bank account in the United States to
                                     Wertech's bank account in Uruguay.
  FOUR           September 12,       An email sent by INNECCO to an employee of Trading
                     2018            Company #2, located in the District of Connecticut, copying
                                     GLENN OZTEMEL and Co-Conspirator #1, attaching two
                                     invoices seeking payment of a consultancy fee in the amount
                                     of $8,000 and commission in the amount of $103,570.08.

         All in violation of Title 15, United States Code, Sections 78dd-2; and Title 18, United

States Code, Section 2.




                                                  20
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 21 of 28




                                         COUNT FIVE
                                  (Money Laundering Conspiracy)
                                        (All Defendants)

       32.     Paragraphs 1 through 25 and 27 through 29 are incorporated by reference.

       33.     In or about and between 2010 and 2018, in the District of Connecticut and

elsewhere, defendants GLENN OZTEMEL, GARY OZTEMEL, and INNECCO did knowingly

conspire, confederate and agree, together and with each other and with others known and unknown

to the Grand Jury, to commit offenses under Title 18, United States Code, Section 1956, namely,

to transport, transmit, and transfer monetary instruments and funds from a place in the United

States to a place outside the United States, with the intent to promote the caiTying on of one or

more specified unlawful activities, that is: (i) a felony violation of the FCPA, in violation of Title

15, United States Code, Sections 78dd-2(a) and 78dd-3(a); and (ii) one or more offenses against a

foreign nation involving bribery of a public official, and the misappropriation, theft, and

embezzlement of public funds by and for the benefit of a public official, in violation of the

Brazilian Penal Code, as defined in Title 18, United States Code, Section 1956(c)(7)(B)(iv),

contrary to Title 18, United States Code, Section 1956(a)(2)(A).

                               Manner and Means of the Conspiracy

       34.     The manner and means by which GLENN OZTEMEL, GARY OZTEMEL,

INNECCO and their co-conspirators sought to accomplish the purpose of the conspiracy included,

among other ways, the following:

               a.      It was part of the conspiracy that INNECCO sent invoices to employees of

Trading Company #1 and Trading Company #2, including GLENN OZTEMEL, Co-Conspirator

# 1, and others, located in the District of Connecticut and elsewhere, seeking payment of




                                                 21
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 22 of 28




consultancy fees and commissions, for the purpose of promoting the offer, promise, and payment

of bribes to Petro bras officials, including Berkowitz.

               b.      It was further paii of the conspiracy that GLENN OZTEMEL caused

employees of Trading Company #1 and Trading Company #2, located in the District of

Connecticut and elsewhere, to initiate wire transfers from Trading Company #1 's and Trading

Company #2's bank accounts in the United States to bank accounts in Switzerland and Uruguay

in the name of the Innecco Companies, for the purpose of promoting the offer, promise, and

payment of bribes to Petro bras officials, including Berkowitz.

               c.      It was fmiher part of the conspiracy that INNECCO sent emails and

spreadsheets to GARY OZTEMEL listing payments to a purpmied "investment fund" for the

purpose of promoting the offer, promise, and payment of bribes to Petrobras officials, including

Berkowitz.

               d.      It was further part of the conspiracy that INNECCO sent emails to GARY

OZTEMEL attaching invoices from Morgenstern to OTT seeking purported "profit sharing"

payments for the purpose of promoting the offer, promise, and payment of bribes to Petro bras

officials, including Berkowitz.

       All in violation of Title 18, United States Code, Section 1956(h).




                                                 22
          Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 23 of 28




                                COUNTS SIX AND SEVEN
                (Money Laundering - Promotion of Specified Unlawful Activity)
                      (GLENN OZTEMEL and EDUARDO INNECCO)

       35.     Paragraphs 1 through 25, 27 through 29, and paragraph 34 are incorporated by

reference.

        36.    On or about the dates set fo1ih below, in the District of Connecticut and elsewhere,

defendants GLENN OZTEMEL and INNECCO, together with others known and unknown to the

Grand Jury, did knowingly transport, transmit, and transfer, and aid, abet, and cause others to

transport, transmit, and transfer the following monetary instruments and funds from a place in the

United States to a place outside the United States, namely Switzerland and Uruguay, intending that

each of the transactions, in whole and in part, promote the carrying on of a specified unlawful

activity, that is: (i) a felony violation of the FCPA, in violation of Title 15, United States Code,

Section 78dd-2(a) and 78dd-3(a); and (ii) one or more offenses against a foreign nation involving

bribery of a public official, and the misappropriation, theft, and embezzlement of public funds by

and for the benefit of a public official, in violation of the Brazilian Penal Code, as defined in Title

18, United States Code, Section 1956(c)(7)(B)(iv), as follows:

 COUNT        APPROXIMATE                   MEANS AND INSTRUMENTALITIES OF
                  DATE               INTERSTATE AND INTERNATIONAL COMMERCE
    SIX        August 10, 2018       A wire transfer in the amount of$39,323.0l, initiated by
                                     Trading Company #2 in the District of Connecticut, from
                                     Trading Company #2's bank account in the United States to
                                     Wertech's account in Uruguay.
 SEVEN        November 13, 2018      A wire transfer in the amount of $113,515.49, initiated by
                                     Trading Company #2 in the District of Connecticut, from
                                     Trading Company #2's bank account in the United States to
                                     Wertech's bank account in Uruguay.

       All in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.




                                                  23
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 24 of 28




                                         COUNT EIGHT
                                 (Money Laundering - Concealment)
                                       (GARY OZTEMEL)

        37.     Paragraphs 1 through 25, 27 through 29, and paragraph 34 are incorporated by

reference.

        3 8.    On or about the date set forth below, in the District of Connecticut and elsewhere,

defendant GARY OZTEMEL, together with others known and unknown to the Grand Jury, did

knowingly transport, transmit and transfer, and attempt to transport, transmit and transfer,

monetary instruments and funds from one or more places outside the United States and to one or

more places in the United States, knowing that such monetary instruments and funds involved in

the transportation, transmissions and transfers represented the proceeds of some form of unlawful

activity, and knowing that such transportation, transmissions and transfers were designed in whole

and in part to conceal and disguise the nature, the location, the source, the ownership and the

control of the proceeds of one or more specified unlawful activities, to wit: (i) felony violations of

the FCPA, in violation of Title 15, United States Code, Sections 78dd-2 and 78dd-3; (ii) one or

more offenses against a foreign nation involving bribery of a public official, and the

misappropriation, theft, and embezzlement of public funds by and for the benefit of a public

official, in violation of the Brazilian Penal Code, as defined in Title 18, United States Code, Section

1956(c)(7)(B)(iv), as follows:

 COUNT         APPROXIMATE                  MEANS AND INSTRUMENTALITIES OF
                    DATE              INTERSTATE AND INTERNATIONAL COMMERCE
  EIGHT        November 27, 2018     A wire transfer from W ertech' s bank account in Uruguay, in
                                     the amount of$10,000.00, to Petro Trade's bank account in
                                     the District of Connecticut.

       All in violation of Title 18, United States Code, Sections l 956(a)(2)(B)(i).




                                                  24
        Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 25 of 28




                                        COUNT NINE
                 (Monetary Transactions Involving Criminally Derived Property)
                                     (GARY OZTEMEL)

        39.    Paragraphs 1 through 25, 27 through 29, and paragraph 34 are incorporated by

reference.

        40.    On or about the date set forth below, in the District of Connecticut and elsewhere,

defendant GARY OZTEMEL, together with others known and unknown to the Grand Jury, did

knowingly engage in a monetary transaction in criminally derived property of a value greater than

$10,000, and which in fact was derived from a specified unlawful activity, that is: (i) a felony

violation of the FCPA, in violation of Title 15, United States Code, Sections 78dd-2(a) and 78dd-

3(a); and (ii) one or more offenses against a foreign nation involving bribery of a public official,

and the misappropriation, theft, and embezzlement of public funds by and for the benefit of a

public official, in violation of the Brazilian Penal Code, as defined in Title 18, United States Code,

Section 1956(c)(7)(B)(iv), as follows:

 COUNT        APPROXIMATE                    MEANS AND INSTRUMENTALITIES OF
                   DATE                             INTERSTATE COMMERCE
  NINE        December 11, 2018      A wire transfer from Petro Trade's bank account, in the
                                     amount of $11,000.00, to GARY OZTEMEL's bank account,
                                     in and affecting interstate commerce.

       All in violation of Title 18, United States Code, Sections 1957.




                                                 25
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 26 of 28




                          NOTICE OF FORFEITURE ALLEGATIONS
                         (Forfeiture Relating to Counts One through Four)

        41.    Upon conviction of the Foreign C01Tupt Practices Act offenses alleged in Count

One (all Defendants) and Counts Two through Four (GLENN OZTEMEL and INNECCO) of this

indictment, GLENN OZTEMEL, GARY OZTEMEL, and INNECCO shall forfeit to the United

States of America, pursuant to Title 18, United States Code, Section 98l(a)(l)(C) and Title 28,

United States Code, Section 246l(c), all right, title, and interest in any and all money and any other

property, real or personal, involved in such offense in violation of Title 15, United States Code,

Section 78dd-2, and all property traceable to such property, including but not limited to the

following:

                                          Money Judgment

        42.    A sum of money equal to the total amount of any property, real or personal, which

constitutes or is derived from proceeds involved in the offense as charged in Counts Two through

Four.

        43.    If any of the above-described forfeitable property, as a result of any act or omission

of the defendants, cannot be located upon the exercise of due diligence, has been transfened, sold

to, or deposited with a third party, has been placed beyond the jurisdiction of the comi, has been

substantially diminished in value, or has been commingled with other property which cannot be

divided without difficulty, it is the intent of the United States, pursuant to Title 21, United States

Code, Section 853(p), as incorporated by Title 18, United States Code, Section 982(b ), to seek

forfeiture of any other property of the defendants up to the value of the forfeitable property

described above.

        All in accordance with Title 18, United States Code, Section 98l(a)(l)(C), Title 28, United

States Code, Section 246l(c), and Rule 32.2(a), Federal Rules of Criminal Procedure.


                                                 26
         Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 27 of 28




                          NOTICE OF FORFEITURE ALLEGATIONS
                         (Forfeiture Relating to Counts Five through Nine)

         44.   Upon conviction of the money laundering offenses alleged in Count Five (all

Defendants) and Counts Six through Nine (GLENN OZTEMEL and INNECCO) of this

Indictment, GLENN OZTEMEL, GARY OZTEMEL, and INNECCO shall forfeit to the United

States of America, pursuant to Title 18, United States Code, Section 982(a)(l), all right, title, and

interest in any and all money and any other property, real or personal, involved in such offense in

violation of Title 18, United States Code, Section 1956(h), and all prope1iy traceable to such

prope1iy, including but not limited to the following:

                                          Money Judgment

         45.   A sum of money equal to the total amount of any property, real or personal, which

constitutes or is derived from proceeds involved in the offense as charged in Couns Five through

Seven.

         46.   If any of the above-described forfeitable property, as a result of any act or omission

of the defendants, cannot be located upon the exercise of due diligence, has been transferred, sold

to, or deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other prope1iy which cannot be

divided without difficulty, it is the intent of the United States, pursuant to Title 21, United States

Code, Section 853(p ), as incorporated by Title 18, United States Code, Section 982(b ), to seek

forfeiture of any other property of the defendants up to the value of the forfeitable property

described above.




                                                 27
    Case 3:23-cr-00026-KAD Document 76 Filed 08/29/23 Page 28 of 28




       All in accordance with Title 18, United States Code, Section 982(a)(l), and Rule 32.2(a),

Federal Rules of Criminal Procedure.



                                                      A TRUE BILL




                                                      FO~PERSON          l




UNITED STATES OF AMERICA




VANESSA ROBERTS AVERY                                 GLENN S. LEON
UNITED STATES ATTORNEY                                CHIEF, FRAUD SECTION
DISTRICT OF CONNECTICUT                               U.S. DEPARTMENT OF rusTICE




                                                       {)J~~~#
MICHAEL S. Mc                                        ALLISON L. McGUIRE
ASSISTANT UN                                         CLAYTON P. SOLOMON
DISTRICT OF C                                        TRIAL ATTORNEYS, FRAUD SECTION

                                                     DEREK J. ETTINGER
                                                     JONA THAN P. ROBELL
                                                     ASSISTANT DEPUTY CHIEFS,
                                                     FRAUD SECTION




                                             28
